                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR 06-139
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 CHRISTINA CASTILLO,                               RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEAS
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On October 19, 2006, a three-count Indictment was returned against the defendant
Christina Castillo. On December 11, 2006, the defendant appeared before United States
Magistrate Judge John A. Jarvey and entered pleas of guilty to Counts 2 and 3 of the
Indictment. On December 11, 2006, Judge Jarvey filed a Report and Recommendation in
which he recommended that defendant’s guilty pleas be accepted. No objections to Judge
Jarvey's Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Jarvey's recommendation to accept defendant’s pleas in this
case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of
December 11, 2006, and accepts defendant’s pleas of guilty in this case to Counts 2 and
3 of the Indictment.
      IT IS SO ORDERED.
      DATED this 27th day of December, 2006.




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